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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK




United States of America
                                                              1:14 CR. 06919-1 (KBF (Retired))
Plaintiff,
                                                              MOTION FOR ADMISSION
        -against-
                                                              PRO HAC VICE
Ross Ulbricht

Defendant.




Pursuant to Rule 1.3(c) of the Local Rules of the United States Courts for the Southern
Districts of New York, Jason S. "Jay" Leiderman hereby moves this Court for an Order for
admission to practice Pro Hac Vice to appear as counsel for Defendant Ross Ulbricht in the
above-captioned action.


Jason S. "Jay" Leiderman
Dated: 28 March 2019



Respectfully Submitted,
                                                           Address:770 County Square Drive 101
Applicant Signature:/s/Jay Leiderman
                                                           City/State/Zip: Ventura, California 93003
Applicant’s Name: Jason S. "Jay" Leiderman
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